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    FILED & JUDGMENT ENTERED
           Steven T. Salata


            November 4 2021


     Clerk, U.S. Bankruptcy Court
    Western District of North Carolina
                                                                        _____________________________
                                                                                 J. Craig Whitley
                                                                          United States Bankruptcy Judge



                    IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  (Charlotte Division)
In re:                                  )
                                        )      Chapter 11
LTL Management, LLC                     )
                                        )      Case No. 21-30589
              Debtor.                   )
                                        )
                                        )
LTL Management, LLC                     )
                                        )
                     Plaintiff          )
                                        )
vs.                                     )      Adv. Proc. No. 21-3032
                                        )
Those Parties Listed on Appendix A to   )
Complaint and                           )
John and Jane Does 1-1000               )
                                        )
                     Defendants         )
                                        )

               ORDER REGARDING DISCOVERY, BRIEFING SCHEDULE,
                       AND HEARING TIME ALLOCATION

       This matter is before the Court to (i) set discovery deadlines, (ii) set a briefing schedule

and (iii) to address hearing time allocation on the Debtor’s Motion for an Order (I) Declaring the

Automatic Stay Applies to Certain Actions Against Non-Debtors or (II) Preliminarily Enjoining

Such Actions, and (III) Granting a Temporary Retaining Order Pending a Final Hearing [Doc. 2]

(the “Motion”). A hearing on the Motion is currently scheduled for November 4, 2021 and

November 5, 2021. The Court orders as follows:

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       1.      All parties wishing to participate in the hearing on the Motion shall disclose all

witnesses that they intend to call at hearing along with the general subject matter of their witnesses’

anticipated testimony by 2:00 pm EST on October 27, 2021 via electronic mail sent to opposing

counsel. The Court will preclude the testimony at hearing of any person who is not timely

disclosed.

       2.      The Plaintiff shall serve all objections to the production of any documents on the

propounding party by 2:00 pm EST on October 28, 2021 via electronic mail.

       3.      The Plaintiff shall respond to any interrogatories by 2:00 pm EST on October 28,

2021 via electronic mail.

       4.      The Plaintiff shall produce non-privileged requested documents on a rolling basis.

All requested documents shall be served electronically on the requesting party by 11:59 pm EST

on October 28, 2021.

       5.      To the extent the Plaintiff withholds any document from its required production

based on the assertion of privilege, the Plaintiff will provide a general description of the categories

of the document withheld to the party that requested the document by 12:00 noon EST on October

29, 2021. For any productions made after 12:00 noon EST on October 29, 2021, the Plaintiff will

supplement its general description of the categories of documents withheld on the basis of privilege

by the next business day following the production of documents.

       6.      Direct testimony of any proposed witnesses may be conducted by declaration to be

filed on the docket in the above captioned adversary proceeding by 12:00 noon EST on November

2, 2021. Unless a declarant is unable to travel for medical reasons, all declarants must be present,

in person, and available for cross examination at the hearing on November 4, 2021, and November

5, 2021. Should any party choose to cross examine a declarant, the party shall identify those

declarants by 12:00 EST on November 3, 2021. Should any party choose to present live, direct
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testimony at hearing, the identity of the witness shall be disclosed to opposing counsel by 1:00 pm

EST on October 28, 2021.

       7.       Parties opposing the Motion may elect to take depositions via Zoom on October 29,

October 30, and/or October 31, 2021. Each deposition shall last no longer than six hours.

       8.       Any party intending to introduce evidence shall serve an exhibit list by 12:00 pm

EST on November 3, 2021 and promptly file it thereafter on the docket in the above captioned

adversary proceeding.

       9.       All documents to be presented as affirmative evidence by any party in support of

or in opposition of the Motion shall be provided to the Court electronically and to opposing counsel

via electronic mail prior to the hearing.

       10.      Any brief in opposition of the Motion shall be filed on the docket in the above

captioned adversary proceeding by 1:00 pm EST on November 1, 2021.

       11.      Any reply brief in further support of the Motion shall be filed on the docket in the

above captioned adversary proceeding by 12:00 noon EST on November 3, 2021.

       12.      On November 4 and 5, 2021, the Court will allocate time as follows:

             a. Two hours on November 4, 2021 will first be given to hear arguments related to the

                Bankruptcy Administrator’s recommendation(s) on the appointment of one or more

                official committee(s);

             b. The Plaintiff and any other proponent of the Motion shall have four hours and 30

                minutes total to (i) put on evidence, which shall include both the proponents’ case

                in chief, as well as any evidence in which the proponents wish to produce in

                rebuttal, (ii) cross-examination of adversary's witnesses, and (iii) make any opening

                or closing arguments.



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             c. All other parties shall have cumulatively four hours and 30 minutes total to (i) put

                  on evidence in opposition of the Motion, (ii) cross-examination of adversary's

                  witnesses, and (iii) make any opening or closing arguments.



SO ORDERED

This Order has been signed electronically.                                United States Bankruptcy Court
The Judge's signature and Court's seal
appear at the top of this Order.




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